Case 4:17-cv-00194-ALM Document 31-1 Filed 11/27/17 Page 1 of 1 PageID #: 512



                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 ADVOCARE INTERNATIONAL, L.P.,                  §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §   CIVIL ACTION NO. 4:17-CV-194
                                                §
 MODERE, INC., AMBER DELOOF,                    §
 AND JESSIE LEE WARD                            §   JURY TRIAL DEMANDED
                                                §
        Defendants.                             §


                     ORDER GRANTING STIPULATION OF DISMISSAL


       Pursuant to the Parties' Stipulation and good cause appearing therefore, it is hereby ordered

that all claims and counterclaims asserted in the above-referenced action are hereby DISMISSED

WITH PREJUDICE. Each party shall bear its own costs and attorneys' fees.

       IT IS SO ORDERED.




ORDER GRANTING STIPULATION OF DISMISSAL                                                    PAGE 1
